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                         In the District Court of the United States
                            For the District of South Carolina
                                         BEAUFORT DIVISION


David Patrick Worrell, #02454-007,            )
                                              )      Civil Action No. 9:07-1784-HMH-GCK
                          Petitioner,         )
                                              )
       vs.                                    )
                                              )   REPORT AND RECOMMENDATION
John J. LaManna, Warden,                      )     OF THE MAGISTRATE JUDGE
FCI Edgefield,                                )
                     Respondent.              )
                                              )

                                        I. INTRODUCTION

       The petitioner, David Patrick Worrell (“Petitioner” or “Worrell”), a federal prisoner

proceeding pro se, seeks habeas corpus relief pursuant to Title 28, United States Code, Section

2241. Pursuant to the provisions of Title 28, United States Code, Section 636(b)(1)(B), and

Local Rule 73.02(B)(2)(c), D.S.C., this magistrate judge is authorized to review post-trial

petitions for relief and submit findings and recommendations to the District Court.

                                        II. BACKGROUND

       The Petitioner was sentenced on March 1, 2004 to a 151-month term of incarceration in

the United States District Court for the Eastern District of North Carolina, for Possession with

the Intent to Distribute Cocaine and Possession with the Intent to Distribute Heroin, in violation

of 21 U.S.C. § 841(a)(1). [Respondent’s Exhibit #4, Judgment and Commitment Order in

4:03CR00049-001]. Worrell is currently incarcerated at the Federal Correctional Institution

(“FCI”) Edgefield in Edgefield, South Carolina, and has a projected release date of March 17,

2014, via Good Conduct Time (“GCT”) Release. [Respondent’s Exhibit #5, Sentence

Monitoring Computation Data].

       The Petitioner properly has named the Warden at FCI Edgefield, as the respondent (the

“Respondent”) in his petition (the “Petition”). See Braden v. 30th Judicial Circuit Court of
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Kentucky, 410 U.S. 484, 498 (1973) (the proper respondent in a habeas petition is the custodian

of the prisoner.).

        The Petitioner filed his petition [1] on June 29, 2007, and later filed an amended petition

[9] (collectively referred to herein as the “Petition”) asserting that 69-days of Jail Credit Time

(“JCT”) and 45-days of District of Columbia Education Good Time (“DCEGT”) credits were

removed from the calculation of his previous sentence. Worrell claims the omission of the

69-days of JCT and 45-days of DCEGT has prolonged the service of the sentence which has

allowed an invalid parole detainer to stand. Worrell also claims that his attempts to have a

probation warrant issued by the State of Maryland removed from his records have been futile.

Lastly, Worrell alleges that he has not had the ability to have the issue of whether the

Government has failed to meet its burden of establishing two prior convictions for controlled

substance offense were adjudicated on the merits in his prior 21 U.S.C. § 2255 petition. Worrell

requests that the Court order the proper computation of his District of Columbia sentence, and

that the record of his prior convictions be provided through certified judicial judgments.

        On September 27, 2007, the Respondent filed an answer and return [15], and on

November 14, 2007, the Respondent filed a motion for summary judgement and supporting

documents. [23] By order filed November 15, 2007, pursuant to Roseboro v. Garrison, 528

F.2d 309 (4th Cir. 1975), the Petitioner was advised of the summary judgment dismissal

procedure and the possible consequences if he failed to adequately respond to the motion. [25]

On November 27, 2007, the Petitioner filed a response in opposition to the motion for summary

judgment. [27] Hence, this case is ripe for review by the undersigned.

                                             III. DISCUSSION

                                     A. Subject Matter Jurisdiction

        This action is brought pursuant to 28 U.S.C. § 2241 which states in part:

        (a) Writs of habeas corpus may be granted by the ... district courts ... within their ... jurisdiction ...

        (c) The writ of habeas corpus shall not extend to a prisoner unless-

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                 (1) [The prisoner] is in custody under or by color of the authority of the United States ... or ...

                 (3) [The prisoner] is in custody in violation of the Constitution or laws or treaties of the United
                 States.

The Respondent concedes that under Section 2241, an inmate can challenge the manner in which

the BOP carries out his sentence and therefore the Court has subject matter jurisdiction to

entertain Worrell’s challenges to his sentence computation as well as to the State of Maryland

detainer. See Chatman-Bey v. Thornburgh, 864 F.2d 804, 809-10 (D.C. Cir. 1988). However,

the Respondent contends that the Court does not have jurisdiction under Section 2241 to

entertain Worrell’s challenges to issues concerning the sentence imposed upon him. Prior to

enactment of 28 U.S.C. § 2255, the only way a federal prisoner could collaterally attack a federal

conviction was through a petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2241. See

Triestman v. United States, 124 F.3d 361, 373 (2nd Cir. 1997). In 1948, Congress enacted

Section 2255 primarily to serve as a more efficient and convenient substitute for the traditional

habeas corpus remedy. See In Re Dorsainvil, 119 F.3d 245, 249 (3rd Cir. 1997). “[A] prisoner

who challenges his federal conviction or sentence cannot use the federal habeas corpus statute at

all but instead must proceed under 28 U.S.C. § 2255.” Waletzki v. Keohane, 13 F.3d 1079, 1080

(7th Cir. 1994). The Respondent asserts that since Worrell is seeking relief, in part, from his

conviction and sentence, the relief he seeks in this petition is available, if at all, only under 28

U.S.C. § 2255.

       In the present Petition, Worrell claims he has not had the ability to have the issue of

whether the Government failed to meet its burden of establishing that two prior convictions for

controlled substance offenses adjudicated on the merits. On February 27, 2004, Worrell filed an

appeal in the United States Court of Appeals for the Fourth Circuit. [Respondent’s Exhibit #1,

Criminal Docket For Case #4:03-cr- 00049-H-1, Page 6]. On August 17, 2005, the Fourth

Circuit in an unpublished opinion, affirmed Worrell’s conviction and dismissed his appeal as to

the district court’s denial of his motions for a downward departure. [Exhibit #2, Unpublished


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Opinion in U.S. v. Worrell, No. 04-4202]. On March 30, 2006, Worrell filed a motion under 28

U.S.C. § 2255 to vacate his sentence. [Respondent’s Exhibit 4 #1, Page 7]. On December 20,

2006, the United States District Court for the Eastern District of North Carolina dismissed

Worrell’s Section 2255 petition. [Respondent’s Exhibit #3, Order Dismissing § 2255 petition].

Worrell claims that a second or successive Section 2255 motion on this issue would be an

ineffective test as to the legality of his detention; thus, he is entitled to pursue this issue under

Section 2241. Respondent asserts this argument is misplaced, reasoning that if a prisoner’s

Section 2255 motion is denied by a sentencing court, the denial itself is not sufficient to

demonstrate that the Section 2255 motion was inadequate, or ineffective. See In Re Vial, 115

F.3d 1192, 1194 n.5 (4th Cir. 1997) (the remedy afforded by Section 2255 is not rendered

inadequate or ineffective because an individual has been unable to obtain relief under that

provision, or because an individual is procedurally barred from filing a Section 2255 motion). In

order to show that a second or successive Section 2255 motion would be inadequate or

ineffective, a prisoner must show that “(1) at the time of the conviction, settled law of this circuit

or the Supreme Court established the legality of the conviction; (2) subsequent to the prisoner’s

direct appeal and first Section 2255 motion, the substantive law changed such that the conduct of

which the prisoner was convicted is deemed not to be criminal; (3) the prisoner cannot satisfy the

gatekeeping provisions of Section 2255 because the new rule is not one of constitutional law.”

In Re Jones, 226 F.3d 328, 333-34 (4th Cir. 2000). It does not appear to the Court that Worrell

has not set forth any set of facts which could be found to meet the test announced in Jones.

        To summarize, to the extent Worrell’s Petition attacks the execution of his sentence, the

Court has subject matter jurisdiction under Section 2241. However, to the extent that Worrell’s

Petition challenges the validity of his conviction or sentence, then Section 2241 is inapplicable,

as Section 2255 is the proper vehicle for mounting such a challenge. See In re Vial, 115 F.3d at

1194 (4th Cir.1997); see also United States v. Flores, 616 F.2d 840, 841 (5th Cir.1980) (noting §

2255 is appropriate remedy for errors that occurred at sentencing). Thus, the Court does not

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have jurisdiction to entertain that part of Worrell’s Petition which challenges whether the

Government failed to meet its burden of establishing that two prior convictions for controlled

substance offenses were adjudicated on the merits.

                          B. Exhaustion of Administrative Remedies

       It is well established that a federal prisoner challenging the execution of his sentence

must first exhaust administrative remedies before seeking review in federal court pursuant to

Section 2241. See Woodford v. Ngo, 126 S.Ct. 2378 (2005) (the PLRA requires “proper

exhaustion” of administrative remedies); Braden v. 30th Judicial Circuit Court, 410 U.S. 484,

490-491 (1973)(exhaustion required under 28 U.S.C. § 2241); McClung v. Shearin, 90 Fed.

Appx. 444, 445 (4th Cir. 2004) (per curiam);1 Carmona v. United States Bureau of Prisons, 243

F.3d 629, 634 (2d Cir. 2001); Little v. Hopkins, 638 F.2d 953, 953-54 (6th Cir. 1981); Cano v.

Pettiford, 2007 WL 2579971 (D.S.C. Sept. 4, 2007) (CMC-JRM); Pierce v. Pettiford, 2006 WL

4571650 (D.S.C. July 21, 2006) (GRA-JRM), aff’d by unpublished per curiam opinion, (06-

7501), November 27, 2006.2

       Respondent argues, and this Court agrees, that the Petitioner has failed to exhaust his

formal administrative remedies prior to filing this action.3 [Respondent’s Exhibit #6, Affidavit

of Roy Lathrop]. Specifically, on November 15, 2006, Worrell filed a Request for

Administrative Remedy with the Warden which claimed that his sentence computation was

wrong. [Id., ¶4]. On December 1, 2006, the Warden responded to Worrell and denied his

request. [Id.]. On December 19, 2006, Worrell filed a Regional Administrative Appeal to the

Southeast Regional Director appealing the Warden’s decision. [Id., ¶5]. On January 22, 2007,


       1
               The panel in McClung was comprised of Judge Wilkinson, Judge Williams, and Senior Judge
               Hamilton.
       2
               The panel consisted of Judges Widener, Wilkinson, and Motz.
       3
               See [23] at pp. 5-9. The Federal Bureau of Prisons has established an administrative
               procedure whereby a federal inmate may seek review of complaints relating to any aspect
               of his or her confinement. See 28 C.F.R. § 542.10.

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the Regional Director denied Worrell’s appeal. [Id.]. On February 26, 2007, Worrell filed a

Central Office Administrative Appeal with the BOP’s Central Office appealing the Regional

Director’s decision. [Id., ¶6]. On February 27, 2007, Worrell’s appeal was rejected because he

had not provided copies of relevant documents. [Id.]. Worrell was informed he could resubmit

his appeal within 15 days, with copies of the relevant documents. [Id.]. On April 2, 2007,

Worrell resubmitted his Central Office Administrative Appeal. [Id., ¶7]. Again, Worrell’s

appeal was rejected because he had not complied with the instruction to provide copies of the

relevant documents. [Id.]. Worrell again was instructed he could re-file his appeal within 15

days. [Id.]. The Respondent asserts that Worrell has not attempted to re-file his Central Office

Administrative Appeal in the proper form. [Id., ¶8]. There is no record in the BOP’s

Administrative Remedy Database that Worrell has filed any administrative remedies concerning

a detainer or anything related to his prior convictions. [Id., ¶9]. Thus, Worrell pursued his

administrative remedies up to the Central Office Administrative Appeal but not beyond that

level.

          In his Petition, Worrell claims that he complained of the facts at bar by using the prison’s

internal grievance procedure, and the result was that the “claims were denied [and] the process is
              4
‘futile’”.        He does not explain, however, the reason that futility would apply at the present

time, when he initially pursued exhaustion of the BOP administrative remedies. Furthermore,

while futility has been recognized as a defense to exhaustion in Section 2241 Petitions, it appears

to this Court that the exhaustion has been held to be futile only where the habeas petition was

attacking the underlying validity of 28 C.F.R. §§ 570.20 and 570.21 (not the application of those

regulations). See Boston v. Bauknecht, No. 6:07-cv-0250, 2007 WL 3119482, at *2 (D.S.C. Oct.

22, 2007) and Maclean v. Bauknecht, No. 8:07-cv-0330, 2007 WL 4292795, at *3 (D.S.C. Dec.

5, 2007), see also, Woodall v. Federal Bureau of Prisons, 432 F.3d 235, 239 n. 2 (3d Cir. 2005)



          4
                     Petition [9] at p.2. at ¶ 15(a)(1).

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(upholding the district court’s finding that exhaustion would be futile when a petitioner attacks

the validity of the BOP regulations); Dunkley v. Hamidullah, 2007 WL 2572256, at * 4 (D.S.C.

August 31, 2007) (“exhaustion would be futile ‘because the BOP has adopted a clear and

inflexible policy regarding its interpretation of 18 U.S.C. § 3624(c).’”) (quoting Fagiolo v.

Smith, 326 F.Supp.2d 589, 590 (M.D.Pa. 2004)).

       The Fourth Circuit has clearly indicated that failure to exhaust may only be excused upon

a showing of cause and prejudice. McClung v. Shearin, 90 Fed. Appx. 444, 445 (4th Cir. 2004)

(unpublished) (citing Carmona v. United States Bureau of Prisons, 243 F.3d 629, 634-35 (2nd

Cir. 2001)). Therefore, it is recommended that Worrell’s Petition be dismissed because he has

not presented his issues for administrative review at all levels of the formal administrative

remedy process.

                                     RECOMMENDATION

       Based upon the reasons set forth above, it is recommended that the Petitioner’s Petition

[9] be dismissed, and that the Respondent’s motion for summary judgment [23] should be

granted.




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Charleston, South Carolina




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         Notice of Right to File Objections to Report and Recommendation

        The parties are advised that they may file specific written objections to this
Report and Recommendation with the District Court Judge. Objections must specifically
identify the portions of the Report and Recommendation to which objections are made
and the basis for such objections. In the absence of a timely filed objection, a district
court need not conduct a de novo review, but instead must “only satisfy itself that there
is no clear error on the face of the record in order to accept the recommendation.”
Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005).

        Specific written objections must be filed within ten (10) days of the date of service
of this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). The
time calculation of this ten-day period excludes weekends and holidays and provides for
an additional three (3) days for filing by mail. Fed. R. Civ. P. 6(a) & (e). Filing by mail
pursuant to Fed. R. Civ. P. 5 may be accomplished by mailing objections to:

                                 Larry W. Propes, Clerk
                              United States District Court
                                     P.O. Box 835
                            Charleston, South Carolina 29402




       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment of
the District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1);
Thomas v. Arn, 474 U.S. 140 (1985); United States v. Schronce, 727 F.2d 91 (4th Cir.
1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985).




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